
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal from the July 24, 2014, order in Alachua County Circuit Court case number 01-2011-CF-004280-A. See Fla. R. App. P. 9.140(b)(1)(D). Upon issuance of mandate in this cáuse, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R. App. P. 9.141(c)(6)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
LEWIS, C.J., VAN NORTWICK and ROWE, JJ., concur.
